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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF DELAWARE

   EXELIXIS, INC.,                                    )
                                                      )
                           Plaintiff,                 )
                                                      )
   v.                                                 )    C.A. No. 22-228 (RGA) (JLH)
                                                      )    CONSOLIDATED
   MSN LABORATORIES PRIVATE LIMITED                   )
   and MSN PHARMACEUTICALS, INC.,                     )
                                                      )
                           Defendants.                )

                                STIPULATION TO EXTEND TIME

         IT IS HEREBY STIPULATED by the parties, subject to the approval of the Court, that

  the deadline for the parties to submit trial transcript errata is extended to November 13, 2023.



   MORRIS, NICHOLS, ARSHT & TUNNELL LLP              HEYMAN ENERIO GATTUSO & HIRZEL LLP

   /s/ Anthony D. Raucci                             /s/ Dominick T. Gattuso

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                                                     Inc.
   Attorneys for Plaintiff Exelixis, Inc.

  November 8, 2023

                 SO ORDERED this ____ day of _________________, 2023.




                                                UNITED STATES DISTRICT JUDGE
